 8:06-cr-00383-LES-TDT           Doc # 20   Filed: 02/15/07   Page 1 of 1 - Page ID # 31




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )
                                            )           8:06CR383
                    Plaintiff,              )
                                            )
      vs.                                   )            ORDER
                                            )
LUIS CASTELLANOS-ORTIZ,                     )
                                            )
                    Defendant.              )

       Defendant’s Motion to Suppress (Filing No. 16) and Motion to Sever (Filing No. 18)
are scheduled for hearing before the undersigned magistrate judge at 2:00 p.m. on
February 23, 2007, in Courtroom No. 7, Second Floor, Roman L. Hruska United States
Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
       Counsel are reminded of the requirements of NECrimR 12.5 which provides as
follows:

      Disclosure of Evidence. This rule applies to all evidentiary hearings on
      pretrial motions in criminal cases.

             (a)     Witnesses. At the time of the hearing, and to the
             extent reasonably possible, the parties shall submit to the
             judge and courtroom deputy a written list of all witnesses
             whom the parties expect to call.
             (b)     Exhibits. At least twenty-four (24) hours before the
             hearing, each party shall mark the exhibits that party intends
             to introduce into evidence at the hearing, and provide a copy
             to counsel for all other parties and to the presiding judge.

Exhibits should be marked as follows: government’s exhibits beginning at Number 1 and
defense exhibits beginning at Number 101.

      This being a criminal case, defendant must be present unless otherwise ordered by
the court.

      DATED this 15th day of February, 2007.
                                                  BY THE COURT:


                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
